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 5
 6   Attorney for Movant

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12                             UNITED STATES BANKRUPTCY COURT

13        FOR THE SOUTHERN DISTRICT OF CALIFORNIA, (SAN DIEGO DIVISION)
14   In re :                                          )   Case No.      22-02771-LT7
15                                                    )
                                                      )   Chapter 7
16                                                    )
     Matthew Jacob Feaver                             )   R.S. No. JNH-1
17                                                    )
18                                                    )   DECLARATION OF JACOB HARKER IN
                                                      )   SUPPORT OF NACE REYNOLDS’
19                                                    )   MOTION FOR RELIEF FROM
                                                      )   AUTOMATIC STAY
20                                          Debtor.   )
21
22   I, Jacob Harker, declare under penalty of perjury under the laws of the State of California and the
23   United States of America as follows:
24
         1. I am an attorney licensed to practice law in the State of California and the attorney for
25
               Nace Reynolds (“Reynolds”), the Movant herein.
26
27       2. I make this Declaration based on personal knowledge.

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                 DECLARATION SUPPORTING MOTION FOR RELIEF FROM AUTOMATIC STAY
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 1      3. I represent Reynolds in two consolidated lawsuits entitled Reynolds v. Sheehan, et al.,
 2         San Francisco Superior Court Case Nos. CGC-21-594238 and CGC-21-594246
 3
           (“Reynolds Action”). A true and correct copy of the file-stamped Complaint in Case No.
 4
           594238 is attached as Exhibit A. A true and correct copy of the file-stamped Complaint
 5
 6         in Case No. 594246 is attached as Exhibit B.

 7      4. The Debtor, Matthew Jacob Feaver (“Feaver”) is a defendant in the Reynolds Action
 8         along with his law office (Sheehan & Feaver PC (“S&F”)), S&F’s other principal (Robin
 9
           Sheehan (“Sheehan”)), another attorney (Brian Heit (“Heit”)), and Heit’s law office (Heit
10
           Law Group PC (“Heit LG”)).
11
12      5. S&F is the Named Insured in Arch Insurance Group Lawyers Professional Liability

13         Insurance Policy No. 11LPL10862401 (“S&F Liability Policy”). Feaver is an “Insured”
14         under the S&F Liability Policy. Feaver is represented in the Reynolds Action by
15
           coverage counsel Alex Graft (“Graft”) and Kendall Layne (“Layne”), of Lewis Brisbois
16
           Bisgaard & Smith LLP, located at 45 Fremont Street, Suite 3000, San Francisco, CA
17
18         94105.

19         I declare, under penalty of perjury, pursuant to the laws of the United States of America,
20         that the foregoing is true and correct and that this declaration was signed on the below
21
           date in San Francisco, California.
22
23         Dated: December 5, 2022                /s/ Jacob Harker
24
                                                                Jacob Harker
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              DECLARATION SUPPORTING MOTION FOR RELIEF FROM AUTOMATIC STAY
